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 8                        UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA

10   MATTHEW JONES; THOMAS                                  '19CV1226 L  BLM
                                                 Case No.: __________________
     FURRH; PWGG, L.P. (d.b.a. POWAY
11   WEAPONS AND GEAR and PWG
12   RANGE); NORTH COUNTY
     SHOOTING CENTER, INC.; BEEBE
13                                               COMPLAINT FOR
     FAMILY ARMS AND MUNITIONS
                                                 DECLARATORY AND
14   LLC (d.b.a. BFAM and BEEBE
                                                 INJUNCTIVE RELIEF
     FAMILY ARMS AND MUNITIONS);
15
     FIREARMS POLICY COALITION,
16   INC.; FIREARMS POLICY
     FOUNDATION; THE CALGUNS
17
     FOUNDATION; and SECOND
18   AMENDMENT FOUNDATION,
                                Plaintiffs,
19
     v.
20
     XAVIER BECERRA, in his official
21
     capacity as Attorney General of the State
22   of California; MARTIN HORAN, in his
     official capacity as Director of the
23
     Department of Justice Bureau of
24   Firearms; and DOES 1-20,
25
                                    Defendants
26

27

28

                                                     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
           Plaintiffs, through their undersigned counsel, file this Complaint for Declaratory

 2   and Injunctive Relief (Complaint) against the named Defendants in their official
 3
     capacities as state officials responsible under California law for administering and
 4

 5   enforcing state laws and regulations governing the purchase, sale, transfer, possession,

 6   use of, and access to firearms.
 7
           Specifically, Plaintiffs respectfully request that this Court: (i) declare that
 8

 9   California’s law, Penal Code section 27510(a)-(b), and Defendant’s policies and

10   practices of enforcing such law, which prohibits adults not otherwise prohibited
11
     between the ages of 18 and 20 from acquiring or purchasing any firearm (hereinafter
12

13   the challenged “California Age-Based Gun Ban”), as an unconstitutional infringement

14   of Plaintiffs’ constitutional rights under the Second and Fourteenth Amendments of the
15
     United States Constitution; and (ii) permanently enjoin Defendants from enforcing
16

17   Penal Code section 27510(a)-(b), and thereby allow Plaintiffs, and others similarly
18   situated, to acquire, purchase, use, sell or transfer firearms to defend themselves, their
19
     families, and their homes and for all other lawful purposes. In support of this
20

21   Complaint, Plaintiffs hereby allege as follows:
22                              JURISDICTION AND VENUE
23
           1.     This Court has subject-matter jurisdiction over Plaintiffs’ claims in this
24

25   action under 28 U.S.C. § 1331, because the action arises under the Constitution and
26   laws of the United States; and, thus, raises federal questions. The Court also has
27
     jurisdiction under 28 U.S.C. § 1343 and 42 U.S.C. § 1983, because this action seeks to
28
                                                 2
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 1
     redress the deprivation, under color of the laws and statutes of the State of California

 2   and political subdivisions thereof, of rights, privileges, and immunities secured by the
 3
     United States Constitution and laws.
 4

 5         2.     Plaintiffs’ claims for declaratory and injunctive relief are authorized under

 6   28 U.S.C. §§ 2201 and 2202, and 42 U.S.C. § 1983; and their claim for attorneys’ fees
 7
     is authorized under 42 U.S.C. §1988.
 8

 9         3.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) and (b)(2).

10                                          PARTIES
11
           A.     Plaintiffs – Individuals and Entities
12

13         4.     Plaintiff Matthew Jones, an individual, is a 20-year-old resident of Santee,

14   California. Mr. Jones does not have any criminal history, nor is he a member of the
15
     armed services or law enforcement. Mr. Jones does not have a California hunter’s
16

17   license issued by the Department of Fish and Wildlife, because he has no interest in
18   obtaining a firearm for hunting purposes. Mr. Jones does not currently own any firearm
19
     but wishes to purchase one for self-defense and other lawful purposes. Except for the
20

21   California law (Penal Code § 27510) banning his right to acquire or purchase any
22   firearm due solely to his age, and his reasonable fear of criminal prosecution for
23
     violating that law, Mr. Jones would immediately purchase, acquire, and/or possess a
24

25   firearm within California for self-defense and other lawful purposes.                 Further,
26   Mr. Jones is currently eligible under the laws of the United States and of the State of
27
     California to purchase, acquire, and receive firearms.
28
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 1
           5.     Plaintiff Thomas Furrh, an individual, is a 20-year-old resident of Vista,

 2   California. Mr. Furrh does not have any criminal history, nor is he a member of the
 3
     armed services or law enforcement. Mr. Furrh does not have a California hunter’s
 4

 5   license issued by the Department of Fish and Wildlife, because he has no interest in

 6   obtaining a firearm for hunting purposes. Mr. Furrh does not currently own any
 7
     firearm, but wishes to purchase one for self-defense and other lawful purposes. Except
 8

 9   for the California law (Penal Code § 27510) banning his right to acquire or purchase a

10   firearm due solely to his age, and his reasonable fear of criminal prosecution for
11
     violating that law, Mr. Furrh would immediately purchase, acquire, and/or possess a
12

13   firearm within California for self-defense and other lawful purposes.                Further,

14   Mr. Furrh is currently eligible under the laws of the United States and of the State of
15
     California to purchase, acquire, and receive firearms.
16

17         6.     Plaintiff PWGG, L.P. is both a California limited partnership doing
18   business as Poway Weapons & Gear and PWG Range (PWG), and a federal and state
19
     licensed firearms retailer and range in Poway, California. PWG is the largest indoor
20

21   shooting range in California, serving approximately 200,000 visitors per year and
22   supporting almost 4,000 members. It is also the largest firearm, accessory, and apparel
23
     retail store in San Diego, California. As part of its range activities, PWG provides
24

25   firearms for rental use in its three indoor shooting ranges. PWG also provides firearms
26   training to over 8,000 students per year. Since opening in 2014, PWG has helped
27
     educate over 50,000 students in firearm use and safety through various courses
28
                                                4
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 1
     involving the handling and use of firearms. Due to Defendants’ enforcement of the

 2   prohibition of selling, supplying, delivering, or giving possession or control of a
 3
     firearm to any person under 21 years of age, PWG has been directly and adversely
 4

 5   harmed. For example, PWG has been forced to stop, and has stopped, otherwise lawful

 6   sales to adults under the age of 21. It has been forced to stop, and has halted, all firearm
 7
     rentals to adults under the age of 21. Further, PWG has been forced to prohibit, and
 8

 9   has prohibited, adults between the ages of 18 to 20 from attending various firearms

10   classes hosted by PWG. As a direct result, PWG has sustained financial harm, injury,
11
     and losses from the sale and rentals of otherwise lawful goods and services. PWG
12

13   brings this action on behalf of itself, its members, and other similarly situated licensed

14   firearms retailers and shooting ranges in California.
15
           7.     Plaintiff North County Shooting Center Inc. (NCSC) is both an S-Corp
16

17   and a federal and state licensed firearms retailer and range in San Marcos California
18   owned by Darin Prince and Stanley Tuma. NCSC is a full-service shooting range and
19
     gun store. NCSC sells firearms, ammunition, and other firearms accessories as part of
20

21   its retail store. As part of its range activities, NCSC provides firearms for rental use in
22   its indoor shooting range. NCSC also provides various firearms training courses which
23
     take place on NCSC premises. Due to Defendants’ enforcement of the prohibition of
24

25   selling, supplying, delivering, or giving possession or control of a firearm to any person
26   under 21 years of age, NCSC has been directly and adversely harmed. For example,
27
     NCSC has been forced to stop, and has stopped, otherwise lawful sales to adults under
28
                                                  5
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 1
     the age of 21. It has been forced to stop, and has halted, all firearm rentals to adults

 2   under the age of 21. Further, NCSC has been forced to prohibit, and has prohibited,
 3
     adults between the ages of 18 to 20 from attending various firearms classes hosted by
 4

 5   NCSC. As a direct result, NCSC has sustained financial injury, harm, and losses from

 6   the sale and rentals of otherwise lawful goods and services. NCSC brings this action
 7
     on behalf of itself, its members, and other similarly situated licensed firearms retailers
 8

 9   and shooting ranges in California.

10         8.     Plaintiff Beebe Family Arms and Munitions, LLC, d.b.a. BFAM and
11
     Beebe Family Arms and Munitions (Beebe Arms) is a federal and state licensed
12

13   firearms retailer in Fallbrook, California owned by Matthew Beebe.                    Due to

14   Defendants’ enforcement of the prohibition of selling, supplying, delivering, or giving
15
     possession or control of a firearm to any person under 21 years of age, Beebe Arms has
16

17   been directly and adversely harmed. For example, Beebe Arms has been forced to stop,
18   and has stopped, otherwise lawful sales to adults under the age of 21.                   More
19
     specifically, Beebe Arms was forced to deny Plaintiff Furrh from purchasing/acquiring
20

21   a firearm for self-defense. Further, Beebe Arms has been forced to prohibit, and has
22   prohibited, adults between the ages of 18 to 20 from attending various firearms classes
23
     hosted by Beebe Arms. As a direct result, Beebe Arms has sustained financial harm,
24

25   injury, and losses from the sale of otherwise lawful goods and services. Beebe Arms
26   brings this action on behalf of itself, its members, and other similarly situated licensed
27
     firearms retailers in California.
28
                                                 6
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 1
           B.      Institutional Plaintiffs

 2         9.      Plaintiff Firearms Policy Coalition, Inc. (FPC) is a 26 U.S.C. section
 3
     501(c)(4) non-profit organization incorporated under the laws of Delaware with its
 4

 5   principal place of business in Sacramento, California. FPC’s members and supporters

 6   reside both within and outside the State of California, including San Diego County,
 7
     California.   FPC serves its members, supporters, and the public through direct
 8

 9   legislative advocacy, grassroots advocacy, legal efforts, research, education, outreach,

10   and other programs. FPC also strongly opposed the state legislation (Senate Bill 1100)
11
     that led to enactment of Penal Code section 27510. The purpose of FPC includes
12

13   defending the United States Constitution and the people’s rights, privileges, and

14   immunities deeply rooted in this country’s history and tradition, especially the
15
     fundamental right to keep and bear arms under the Second Amendment.
16

17   FPC represents its members and supporters, who include licensed California firearm
18   retailers and gun owners, and brings this action on behalf of itself, its members,
19
     supporters who possess all the indicia of membership, and similarly situated members
20

21   of the public. FPC’s individual California members have been adversely and directly
22   harmed and injured by Defendants’ enforcement of the statutory prohibition on the
23
     lawful sale of firearms to adults between the ages of 18 and 20. Indeed, Penal Code
24

25   section 27510 has denied, and will continue to deny, millions of responsible, law-
26   abiding adults under the age of 21 their fundamental, individual right to keep and bear
27
     arms secured under the Second and Fourteenth Amendments of the U.S. Constitution.
28
                                                  7
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 1
     Defendants’ actions and failures alleged herein have also caused FPC to dedicate

 2   resources that would otherwise be available for other purposes to protect the rights and
 3
     property of its members, supporters, and the general public, including by and through
 4

 5   this action.

 6          10.     Plaintiff Firearms Policy Foundation (FPF) is a grass roots 501(c)3
 7
     non-profit public benefit organization. FPF’s mission is to protect and defend the
 8

 9   Constitution of the United States and the People’s rights, privileges and immunities

10   deeply rooted in the Nation’s history and tradition, especially the inalienable,
11
     fundamental, and individual right to keep and bear arms. FPF informs the public about
12

13   past and current laws, legal challenges and effects of laws on their members and

14   supporters’ constitutional rights. FPF has taken, and continues to take, legal action to
15
     advance the Second Amendment rights of its members and supporters. The Court’s
16

17   interpretation of the Second Amendment directly impacts FPF’s organizational
18   interests, as well as FPF’s members and supporters in California, who enjoy exercising
19
     their Second Amendment rights. FPF brings this action on behalf of itself, its members,
20

21   supporters who possess all the indicia of membership, and similarly situated members
22   of the public. FPF’s individual California members between the ages of 18 and 20 have
23
     been adversely and directly harmed and injured by Defendants’ enforcement of the
24

25   statutory prohibition on the lawful sale of firearms to adults between the ages
26   of 18 and 20. Indeed, Penal Code section 27510 has denied, and will continue to
27
     deny, millions of responsible, law-abiding adults under the age of 21 their
28
                                                8
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 1
     fundamental, individual right to keep and bear arms secured under the Second and

 2   Fourteenth Amendments of the U.S. Constitution. Defendants’ actions and failures
 3
     alleged herein have caused FPF to dedicate resources that would otherwise be available
 4

 5   for other purposes to protect the rights and property of its members, supporters, and the

 6   general public, including by and through this action.
 7
           11.    Plaintiff The Calguns Foundation (CGF) is a section 501(c)(3) non-profit
 8

 9   organization that serves its members, supporters, and the public through educational,

10   cultural, and judicial efforts to advance Second Amendment and related civil rights.
11
     Founded by civil rights activists in California, CGF has taken part in numerous
12

13   litigation efforts to defend innocent gun owners from criminal prosecution and assisted

14   gun owners with various firearms-related legal issues. CGF has also filed important
15
     supporting amicus briefs in lawsuits filed in courts across the nation in an effort to
16

17   protect Second Amendment rights, including the landmark U.S. Supreme Court case
18   McDonald v. Chicago. The Court’s interpretation of the Second Amendment directly
19
     impacts CGF’s organizational interests, as well as CGF’s members and supporters in
20

21   California, who enjoy exercising their Second Amendment rights. CGF brings this
22   action on behalf of itself, its members, supporters who possess all the indicia of
23
     membership, and similarly situated members of the public.               CGF’s individual
24

25   California members between the ages of 18 and 20 have been adversely and directly
26   harmed and injured by Defendants’ enforcement of the statutory prohibition on the
27
     lawful sale of firearms to adults between the ages of 18 and 20. Indeed, Penal Code
28
                                                 9
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  1
      section 27510 has denied, and will continue to deny, millions of responsible,

  2   law-abiding adults under the age of 21 their fundamental, individual right to keep and
  3
      bear arms secured under the Second and Fourteenth Amendments of the
  4

  5   U.S. Constitution. Defendants’ actions and failures alleged herein have caused CGF

  6   to dedicate resources that would otherwise be available for other purposes to protect
  7
      the rights and property of its members, supporters, and the general public, including by
  8

  9   and through this action.

 10         12.    Plaintiff Second Amendment Foundation (SAF) is a non-profit
 11
      educational foundation incorporated under the laws of Washington with its principal
 12

 13   place of business in Bellevue, Washington. SAF seeks to preserve the effectiveness of

 14   the Second Amendment through educational and legal action programs. SAF has over
 15
      650,000 members and supporters nationwide, including thousands of members in
 16

 17   California. The purpose of SAF includes education, research, publishing, and legal
 18   action focusing on the constitutional right to privately own and possess firearms under
 19
      the Second Amendment, and the consequences of gun control. The Court’s
 20

 21   interpretation of the Second Amendment directly impacts SAF’s organizational
 22   interests, as well as SAF’s members and supporters in California, who enjoy exercising
 23
      their Second Amendment rights. SAF brings this action on behalf of itself, its
 24

 25   members, supporters who possess all the indicia of membership, and similarly situated
 26   members of the public. Many of SAF’s individual California members between the
 27
      ages of 18 and 20 have been adversely and directly harmed and injured by Defendants’
 28
                                                 10
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  1
      enforcement of the statutory prohibition on the lawful sale of firearms to adults between

  2   the ages of 18 and 20. Indeed, Penal Code section 27510 has denied, and will continue
  3
      to deny, millions of responsible, law-abiding adults under the age of 21 their
  4

  5   fundamental, individual right to keep and bear arms secured under the Second and

  6   Fourteenth Amendments of the U.S. Constitution. Defendants’ actions and failures
  7
      alleged herein have caused SAF to dedicate resources that would otherwise be available
  8

  9   for other purposes to protect the rights and property of its members, supporters, and the

 10   general public, including by and through this action.
 11
            13.    Plaintiff Matthew Jones brings this case on behalf of himself, and as a
 12

 13   representative of a class of similar individuals consisting of adult, law-abiding

 14   California residents too numerous to individually name or include as parties to this
 15
      action. These are California adult citizens between the ages of 18 and 20 who are not
 16

 17   otherwise prohibited or exempt from Penal Code section 27510, but are now precluded
 18   from lawfully purchasing, renting, or acquiring any firearm through licensed firearms
 19
      retailers, shooting ranges, and private party transfers, but for Defendants’ enforcement
 20

 21   of Penal Code section 27510. Plaintiff Jones individually and as a representative on
 22   behalf of similarly situated adults have sustained, and will continue to sustain, injury
 23
      by not being able to lawfully purchase, rent, or acquire any firearm through licensed
 24

 25   firearms retailers, shooting ranges, and private party transfers, but for Defendants’
 26   enforcement of Penal Code section 27510.
 27

 28
                                                 11
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  1
            14.    Plaintiff Thomas Furrh brings this case on behalf of himself, and as a

  2   representative of a class of similar individuals consisting of adult, law-abiding
  3
      California residents too numerous to individually name or include as parties to this
  4

  5   action. These are California adult citizens between the ages of 18 and 20 who are not

  6   otherwise prohibited or exempt from Penal Code section 27510, but are now precluded
  7
      from lawfully purchasing, renting, or acquiring any firearm through licensed firearms
  8

  9   retailers, shooting ranges, and private party transfers, but for Defendants’ enforcement

 10   of Penal Code section 27510. Plaintiff Furrh individually and as a representative on
 11
      behalf of similarly situated adults have sustained, and will continue to sustain, injury
 12

 13   by not being able to lawfully purchase, rent, or acquire any firearm through licensed

 14   firearms retailers, shooting ranges, and private party transfers, but for Defendants’
 15
      enforcement of Penal Code section 27510.
 16

 17         15.    Plaintiff PWG brings this case on behalf of itself, and as a representative
 18   of a class of similar entities consisting of licensed California retailers too numerous to
 19
      individually name or include as parties to this action. They are licensed firearms
 20

 21   retailers and shooting ranges in California that are injured because they are now
 22   prohibited from selling, supplying, delivering, or giving possession or control of a
 23
      firearm to any person under 21 years of age, who would otherwise be permitted to
 24

 25   lawfully purchase, rent, and acquire firearms.
 26         16.    Plaintiff NCSC brings this case on behalf of itself, and as a representative
 27
      of a class of similar entities consisting of licensed California retailers too numerous to
 28
                                                  12
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  1
      individually name or include as parties to this action. They are licensed firearms

  2   retailers and shooting ranges in California that are injured because they are now
  3
      prohibited from selling, supplying, delivering, or giving possession or control of a
  4

  5   firearm to any person under 21 years of age, who would otherwise be permitted to

  6   lawfully purchase, rent, and acquire firearms.
  7
            17.    Plaintiff Beebe Arms brings this case on behalf of itself, and as a
  8

  9   representative of a class of similar individuals consisting of licensed California retailers

 10   too numerous to individually name or include as parties to this action. They are
 11
      licensed firearms retailers in California that are injured because they are now prohibited
 12

 13   from selling, supplying, delivering, or giving possession or control of a firearm to any

 14   person under 21 years of age, who would otherwise be permitted to lawfully purchase,
 15
      rent, and acquire firearms.
 16

 17         18.    Plaintiffs FPC, FPF, CGF, and SAF bring this case as public interest
 18   entities and organizations whose California members ages 18 to 20 are now prohibited
 19
      from lawfully purchasing, renting, or acquiring firearms. They are California adult
 20

 21   citizens between the ages of 18 and 20 who are not otherwise prohibited or exempt
 22   from Penal Code section 27510, but are now precluded from lawfully purchasing,
 23
      renting, or acquiring firearms through licensed firearms retailers, shooting ranges, or
 24

 25   private party transfers, but for Defendants’ enforcement of Penal Code section 27510.
 26   The 18-to-20-year-old members would otherwise have standing to sue in their own
 27
      right because they are injured by not being able to purchase, rent, or acquire any firearm
 28
                                                   13
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  1
      in California.       Such injuries and interests are germane to each entities’ and

  2   organizations’ purposes, and neither the claims asserted nor the relief requested
  3
      requires participation of these individual members.
  4

  5         19.    As to all claims made in a representative/associational capacity herein,

  6   there are common questions of law and fact that substantially injure and adversely
  7
      affect the rights, duties, and criminal liabilities of many similarly situated California
  8

  9   residents who knowingly or unknowingly are subject to the California statute in

 10   question. The relief sought in this action is declaratory and injunctive in nature, and
 11
      the action involves matters of substantial public interest that are likely to reoccur over
 12

 13   time with the potential of evading judicial review.         Considerations of necessity,

 14   convenience, and justice justify relief to individual and institutional Plaintiffs in a
 15
      representative/associational capacity. Further, to the extent it becomes necessary or
 16

 17   appropriate, the institutional Plaintiffs are uniquely able to communicate with and
 18   provide notice to their thousands of California members and constituents who are or
 19
      would be party of any identifiable class of individuals for whose benefit this Court may
 20

 21   grant such relief.
 22         C.     Defendants
 23
            20.    Defendant Xavier Becerra is the Attorney General of the State of
 24

 25   California. The Attorney General is the chief law enforcement officer of the state, and
 26   the head of the California Department of Justice. The Attorney General is charged by
 27
      Article V, section 13 of the California Constitution with the duty to ensure that
 28
                                                  14
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  1
      California’s laws are uniformly and adequately enforced. Defendant Becerra also has

  2   direct supervision over every district attorney, sheriff, and such other law enforcement
  3
      officers as may be designated by law, in all matters pertaining to the duties of their
  4

  5   respective offices. The Department of Justice and its Bureau of Firearms regulate and

  6   enforce state laws related to firearms. As Attorney General, Defendant Becerra is
  7
      responsible for directing and supervising the prosecution of all offenses under
  8

  9   California’s criminal laws, including the statutory ban on purchasing or acquiring

 10   firearms at issue in this case. The Attorney General is sued herein in his official
 11
      capacity.
 12

 13         21.    Defendant Martin Horan is Director of the Department of Justice’s Bureau

 14   of Firearms. Upon information and belief, Defendant Horan reports to Attorney
 15
      General Becerra, and is responsible for the various operations of the Bureau of
 16

 17   Firearms, including the implementation and enforcement of the statutes and regulations
 18   governing sales, use, ownership, transfer, and assault weapon registration, of firearms.
 19
      He is sued herein in his official capacity.
 20

 21         22.    Plaintiffs are unaware of the true names and capacities of those defendants
 22   sued herein as DOES 1 through 20, inclusive, and therefore sue such defendants by
 23
      fictitious names. Plaintiffs are informed and believe and based upon such information
 24

 25   and belief allege that each of the Defendants designated as DOES 1 through 20,
 26   inclusive, is responsible in some manner for promulgating, administering, enforcing,
 27
      or otherwise implementing the DOJ’s enforcement of the statutes at issue herein.
 28
                                                    15
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  1
      Plaintiffs will amend this complaint to include the true names of Defendant DOES

  2   1 through 20, inclusive, as soon as is practicable after such names and capacities
  3
      become known to them.
  4

  5         23.     All Defendants named herein administer or enforce California’s criminal

  6   laws, including Penal Code section 27510, against Plaintiffs and other California adult
  7
      citizens under color of state law within the meaning of 42 U.S.C. § 1983.
  8

  9                                   FACTUAL ALLEGATIONS

 10         24.     The Second Amendment to the United States Constitution provides,
 11
      “[a] well regulated Militia, being necessary to the security of a free State, the right of
 12

 13   the people to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II.

 14         25.     The Second Amendment protects the people’s right acquire, keep, bear,
 15
      and possess arms, including firearms, for all lawful purposes including but not limited
 16

 17   to self-defense. The Second Amendment “guarantee[s] the individual right to possess
 18   and carry” firearms, and “elevates above all other interests the right of law-abiding
 19
      responsible    citizens    to    use   arms    in   defense      of    hearth     and     home.”
 20

 21   District of Columbia v. Heller, 554 U.S. 570, 635 (2008).
 22         26.     Once an individual turns 18 years old in this country, he or she is
 23
      considered a legal adult free to exercise fundamental constitutional rights pursuant to
 24

 25   the United States Constitution.
 26         27.     Individuals 18 years and older are considered adults for almost all
 27
      purposes. For example, at 18 years old, U.S. citizens can (i) vote, (ii) fully exercise
 28
                                                    16
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  1
      their freedom of speech, (iii) receive the full protections under the 4th, 5th, and 6th

  2   Amendments, (iv) enter into contracts, and (v) serve in the United States military.
  3
            28.    Indeed, male citizens over 18 years of age are designated members of the
  4

  5   militia pursuant to federal statute, 10 U.S.C. § 246(a), and may be selected and inducted

  6   for training and service into the United States armed forces, 50 U.S.C. § 3803(a).
  7
      As such, they are eligible to serve in the military, and to die for their country.
  8

  9         29.    The ordinary definition of the militia “[i]s all able-bodied men.” Heller,

 10   554 U.S. at 707 (Breyer, J. dissenting). The Supreme Court in Heller recognized that
 11
      through Congress’ plenary power, it organized all able-bodied men between
 12

 13   18 and 45 as part of the militia in the first Militia Act. Heller, 554 U.S. at 596. Thus,

 14   the Supreme Court recognized 18-to-20-year-olds as part of the militia; and as such,
 15
      they necessarily have the right to keep and bear arms. Further, as affirmed in Heller,
 16

 17   the right to keep and bear arms extends beyond the militia, reserving an individual right
 18   to keep and bear arms for all lawful purposes, “most notably for self-defense within the
 19
      home.” McDonald v. City of Chicago, 561 U.S. 742, 780 (2010).
 20

 21         30.    In addition, the “militia of the State” consists of both the organized and
 22   unorganized militia.    Specifically, the State’s organized militia encompasses the
 23
      National Guard, State Military Reserve and the Naval Militia. Cal. Military and
 24

 25   Veterans Code Section 120.
 26

 27

 28
                                                  17
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  1
            31.    “The unorganized militia consist of all persons liable to service in the

  2   militia, but not members of the National Guard, the State Military Reserve, or the Naval
  3
      Militia.” Cal. Military and Veterans Code Section 121.
  4

  5         32.    “[T]he militia in colonial America consisted of a subset of ‘the people’ –

  6   those who were male, able-bodied, and within a certain age range.” Heller, 554 U.S.
  7
      at 580. Further, the militias of every colony and state, and the federal militia, included
  8

  9   18-to-20-year-olds. Indeed, it is “the right of the people to keep and bear arms” that

 10   the Second Amendment protects.1 Id., emphasis added.
 11
            33.    Despite these facts, the State of California recently enacted legislation,
 12

 13   effective January 1, 2019, that prohibits an entire class of adults from exercising their

 14   Second Amendment right to keep and bear arms.                Specifically, California has
 15
      prohibited adults ages 18 to 20 from purchasing or acquiring any firearm.
 16

 17

 18
      1
       The Court’s full discussion of “the people”:
            What is more, in all six other provisions of the Constitution that mention “the
 19   people,” the term unambiguously refers to all members of the political community, not
 20   an unspecified subset. As we said in United States v. Berdugo-Urquidez, 494 U.S. 259,
      265, 110 S.Ct. 1056, 108 L.Ed.2d 222 (1990):
 21          “’’[T]he people’ seems to have been a term of art employed in select
 22          parts of the Constitution…. [Its uses] sugges[t] that ‘the people’
             protected by the Fourth Amendment, and by the First and Second
 23          Amendments, and to whom rights and powers are reserved in the Ninth
 24          and Tenth Amendments, refers to a class of persons who are part of a
             national community or who have otherwise developed suffice
 25          connection with this country to be considered part of that community.”
 26          This contrasts markedly with the phrase “the militia” in the prefatory
             clause. As we will describe below, the “militia” in colonial America
 27
             consisted of a subset of “the people” – those who were male, able
 28          bodied, and within a certain age range.
                                                  18
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  1
      The California law, Penal Code section 27510(a)-(b), also makes it a crime for licensed

  2   firearms retailers and ranges to sell, supply, deliver, or give possession or control of a
  3
      firearm to any person under 21 years of age.
  4

  5         34.    By prohibiting licensed firearm retailers and ranges from selling,

  6   supplying, delivering, or giving possession or control of a firearm to any person under
  7
      21 years of age, the California Age-Based Gun Ban constitutes an unconstitutional
  8

  9   infringement on the acquisition or purchase of any firearm and that ban infringes on

 10   the fundamental constitutional rights of not only the Plaintiffs named in this Complaint,
 11
      but thousands of other law-abiding adults throughout California.               As such, the
 12

 13   California Age-Based Gun Ban is invalid under the Second and Fourteenth

 14   Amendments.
 15
                               The California Age-Based Gun Ban
 16

 17         35.    On September 28, 2018, then Governor Edmund G. Brown, Jr. signed into
 18   law Senate Bill 1100 (“SB 1100”, 2017-2018 Reg. Sess.). SB 1100 amended Section
 19
      27510 to increase the State’s minimum age for firearm purchase and general
 20

 21   possession, from 18 to 21 years of age. SB 1100 became effective on January 1, 2019.
 22         36.    Prior to enactment of SB 1100, existing California law prohibited the sale
 23
      or transfer of a handgun, except as exempted, to any person under the age of 21.
 24

 25   However, then-existing California law also allowed a person at least 18 years of age to
 26   buy or transfer a firearm that is not a handgun (e.g., shotguns, rifles).
 27

 28
                                                  19
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  1
            37.    With enactment of SB 1100, however, California’s ban on the acquisition

  2   and purchase of all firearms is now complete, except for a few exemptions found in
  3
      the new law. For example, Penal Code section 27510, as amended, provides a small
  4

  5   handful of exemptions, stating the law “does not apply to” the sale, supplying, delivery,

  6   or giving possession or control of a firearm to (i) a person 18 years of age or older that
  7
      holds a valid hunting license, (ii) an active peace officer that is 18 years of age or older,
  8

  9   (iii) an active federal officer or law enforcement agent that is 18 or older, (iv) a reserve

 10   peace officer that is 18 or older, (v) an active member in the U.S. military that is 18 or
 11
      older, and (vi) a person honorably discharged from the military that is 18 or older.
 12

 13         38.    This means persons between the ages of 18 and 21 that desire to protect

 14   themselves, their family or others, must now feign interest in hunting and get a hunting
 15
      license, join law enforcement, enlist in the military, or be sure to be honorably
 16

 17   discharged from the military before lawfully purchasing, renting, acquiring, and
 18   possessing any firearm in California. However, “the people” identified in Heller
 19
      encompass many more than the few identified in the limited exemptions provided in
 20

 21   Penal Code section 27510. Those “people” have a Second Amendment right to keep
 22   and bear arms for an array of lawful purposes, most notably for self-defense.
 23
      McDonald, 561 U.S. at 780.
 24

 25         39.    Further, the firearms dealer that violates the law is guilty of a crime and
 26   will be punished in accordance with Penal Code section 27590. Under the California
 27
      Age-Based Gun Ban, selling a firearm to a person under 21 is either a felony or a
 28
                                                   20
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  1
      misdemeanor. If charged as a felony, the crime is punishable by imprisonment for two,

  2   three, or four years.    If charged as a misdemeanor, the crime is punishable by
  3
      imprisonment in the county jail for not to exceed one year, by a $1,000 fine, or both
  4

  5   the fine and imprisonment (see Penal Code § 27590 (b)(6) and (c) (3)). Moreover, the

  6   punishment is increased for an alternate felony/misdemeanor if the transferred firearm
  7
      was used in the subsequent commission of a felony for which the person is convicted
  8

  9   and a sentence is imposed (see Penal Code § 27590 (d)(2)).

 10     Infringement of Plaintiffs’ and similarly situated adults’ Second Amendment
 11
                                                rights
 12

 13         40.    Federal law already significantly constrains the right of adult citizens

 14   under the age of 21 from purchasing handguns. Under 18 U.S.C. § 922(b)(1), a
 15
      federally licensed firearm dealer may not sell a handgun to any person under the
 16

 17   age of 21. California’s new ban expands preexisting federal and state law limits by
 18   extending the firearms ban to all firearms, and prohibits adults not otherwise prohibited
 19
      from purchasing firearms from any source — not just federally licensed dealers.
 20

 21         41.    In addition to the various federal limits on firearm acquisitions, California
 22   law independently limits access to firearms for those individuals who are considered
 23
      unsafe, mentally unstable, or otherwise incapable of safely operating a firearm. For
 24

 25   instance, California prohibits access to those (i) convicted of a felony; (ii) convicted of
 26   domestic violence; (iii) those subject to a restraining order; (iv) those subject to a gun
 27
      violence restraining order; (v) those admitted to a medical facility under Welfare and
 28
                                                  21
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  1
      Institutions Code section 5150; (vi) minors under the age of 18; and (vii) various other

  2   misdemeanor convictions. See Penal Code §§ 29800, 29805.
  3
            42.    California law requires, with few exceptions, that all firearm transfers be
  4

  5   conducted by a federal licensed dealer. See Penal Code §§ 26500, 26800-26850;

  6   See also 27 C.F.R. 478.124(a). This applies even among two private individuals who
  7
      wish to transfer a firearm. Because Penal Code section 27510 prohibits licensed dealers
  8

  9   from “supply[ing], deliver[ing], or giv[ing] possession or control of a firearm to any

 10   person under 21 years of age, individuals from 18 to 20 years of age cannot lawfully
 11
      acquire firearms through a firearms dealer or through private party transfers. The effect
 12

 13   of the California Age-Based Gun Ban is to impose a significant, unconstitutional

 14   burden on the right to keep and bear arms with regard to an entire class of law-abiding,
 15
      adult citizens.
 16

 17                                IMPACT ON PLAINTIFFS
 18         43.    Plaintiff Jones is a 20-year-old adult male who, but for the California
 19
      Age-Based Gun Ban and Defendants’ policies, practices, customs, and enforcement of
 20

 21   said law, would be eligible to purchase and possess firearms for lawful purposes,
 22   including self-defense. On April 23, 2019, Mr. Jones entered into AO Sword gun shop
 23
      with the intent to purchase a firearm for self-defense and other lawful purposes.
 24

 25   On information and belief, AO Sword was duly licensed within the meaning of Penal
 26   Code sections 26700 to 26915, inclusive. Upon informing the licensed dealer of his
 27
      desire to purchase a firearm, Mr. Jones was asked if he was 21. After informing the
 28
                                                 22
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  1
      employee that he was 20 years old, Mr. Jones was informed that due to his age,

  2   AO Sword would not be able to sell or transfer any type of firearm to him. Because
  3
      the licensed dealer was prohibited from transferring Mr. Jones a firearm of any kind
  4

  5   under Penal Code section 27510, he was denied the ability to exercise his Second

  6   Amendment rights, including the “right to use arms in self-defense of hearth and
  7
      home.” Heller, 554 U.S. at 635. This unlawful prohibition and infringement on
  8

  9   Mr. Jones’ Second Amendment rights will continue until he is 21 years old.

 10          44.   Plaintiff Jones was not seeking to purchase a firearm in order to hunt and
 11
      has no interest in using his firearm for hunting. He does not possesses a valid,
 12

 13   unexpired hunting license issued by the Department of Fish and Wildlife. Thus, the

 14   exemption under Section 27510(b)(1) is inapplicable. Plaintiff Jones is not an active
 15
      or retired peace officer or federal officer. He also is not a current or retired member of
 16

 17   the armed forces. Thus, the exceptions under Section 27510(b)(2) are inapplicable to
 18   him.
 19
             45.   Plaintiff Furrh is a 20-year-old adult male who, but for the California
 20

 21   Age-Based Gun Ban and Defendants’ policies, practices, customs, and enforcement of
 22   said law, would be eligible to purchase and possess firearms for lawful purposes,
 23
      including self-defense. On May 15, 2019, Mr. Furrh entered Beebe Arms gun shop in
 24

 25   Fallbrook, California, to purchase a firearm for self-defense and other lawful purposes.
 26   On information and belief, Beebe Arms was duly licensed within the meaning of Penal
 27
      Code sections 26700 to 26915, inclusive. Upon informing the licensed dealer of his
 28
                                                  23
                                                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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  1
      desire to purchase a firearm, Mr. Furrh was asked if he was 21. After informing the

  2   Beebe Arms employee that he was 20 years old, Mr. Furrh was informed that due to
  3
      his age, Beebe Arms would not be able to sell or transfer any type of firearm to him.
  4

  5   Because the licensed dealer was prohibited from transferring Mr. Furrh a firearm of

  6   any kind under Penal Code section 27510, he was denied the ability to exercise his
  7
      Second Amendment rights, including the “right to use arms in self-defense of hearth
  8

  9   and home.” Heller, 554 U.S. at 635. This unlawful prohibition and infringement on

 10   Mr. Furrh’s Second Amendment rights will continue until he is 21 years old.
 11
             46.   Plaintiff Furrh was not seeking to purchase a firearm in order to hunt and
 12

 13   had no interest in using his firearm for hunting. He does not possesses a valid,

 14   unexpired hunting license issued by the Department of Fish and Wildlife. Thus, the
 15
      exemption under Section 27510(b)(1) is inapplicable. Plaintiff Furrh is not an active
 16

 17   or retired peace officer or federal officer. He also is not a current or retired member of
 18   the armed forces. Thus, the exceptions under Section 27510(b)(2) are inapplicable to
 19
      him.
 20

 21          47.   Plaintiff PWG is a licensed firearms retailer and range who has the
 22   privilege of holding a special weapons permit in the State of California. A major part
 23
      of PWG’s business activities include renting firearms to customers in order to use those
 24

 25   firearms on the PWG ranges. Due to the Penal Code section 27510 prohibition on
 26   licensed dealers from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or
 27
      control of a firearm to any person under 21 years of age,” PWG has been forced to
 28
                                                  24
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  1
      deny numerous otherwise qualified individuals from purchasing, renting, or even

  2   handling firearms of any kind from their store and range.
  3
            48.    Further, Plaintiff PWG has had to deny numerous adult customers,
  4

  5   ages 18-20, from attending or taking part in PWG’s firearms classes. Most PWG

  6   classes require students to handle firearms in some manner. Because PWG is prevented
  7
      from allowing even possession or control of any firearm to adults ages 18-20, PWG
  8

  9   has had to deny all adults in that age range from attending their firearms classes who

 10   would otherwise be permitted – even when accompanied by an individual over 21.
 11
            49.    Penal Code section 27510’s prohibitions also prevent Plaintiff PWG from
 12

 13   offering hunter education classes to adults between the ages 18-20 who wish to comply

 14   with Penal Code section 27510’s exemption, which allows individuals over 18 to
 15
      acquire long guns if they possess a valid, unexpired hunting license issued by the
 16

 17   Department of Fish and Wildlife. The hunter’s education classes require that students
 18   handle and demonstrate the safe handling of a firearm. Because PWG is prevented
 19
      from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control of a firearm
 20

 21   to any person under 21 years of age,” PWG cannot lawfully provide the necessary
 22   instruction for customers to meet this exception.
 23
            50.    Thus, Penal Code Section 27510 has not only prohibited Plaintiff PWG
 24

 25   from selling firearms to otherwise acceptable adults, but it has also required PWG to
 26   prevent anyone under the age of 21 from entering their range or attending any of their
 27

 28
                                                  25
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  1
      classes, due to the liability of potentially supplying a firearm to someone under the

  2   age of 21.
  3
            51.    Plaintiff NCSC is a licensed firearms retailer and range in San Marcos,
  4

  5   California. A major part of NCSC’s business activities include renting firearms to

  6   customers in order to use those firearms on the NCSC range. Due to the Penal Code
  7
      section 27510 prohibition on licensed dealers from “sell[ing], supply[ing], deliver[ing],
  8

  9   or giv[ing] possession or control of a firearm to any person under 21 years of age,”

 10   NCSC has been forced to deny numerous otherwise qualified individuals from
 11
      purchasing, renting, or even handling firearms of any kind from their store and range.
 12

 13         52.    Further, Plaintiff NCSC has had to deny numerous adult customers, ages

 14   18-20, from attending or taking part in NCSC’s firearms classes. Most NCSC classes
 15
      require students to handle firearms in some manner. Because NCSC is prevented from
 16

 17   allowing even possession or control of any firearm to adults ages 18-20, NCSC has had
 18   to deny all adults in that age range from attending their firearms classes who would
 19
      otherwise be permitted – even when accompanied by an individual over 21.
 20

 21         53.    Penal Code section 27510’s prohibitions also prevent Plaintiff NCSC
 22   from offering hunter education classes to adults between the ages 18-20 who wish to
 23
      comply with Penal Code section 27510’s exemption, which allows individuals over 18
 24

 25   to acquire long guns if they possess a valid, unexpired hunting license issued by the
 26   Department of Fish and Wildlife. The hunter’s education classes require that students
 27
      handle and demonstrate the safe handling of a firearm. Because NCSC is prevented
 28
                                                 26
                                                      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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  1
      from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control of a firearm

  2   to any person under 21 years of age,” NCSC cannot lawfully provide the necessary
  3
      instruction for customers to meet this exception.
  4

  5         54.    Thus, Penal Code Section 27510 has not only prohibited Plaintiff NCSC

  6   from selling firearms to otherwise acceptable adults, but it has also required NCSC to
  7
      prevent anyone under the age of 21 from entering their range or attending any of their
  8

  9   classes, due to the liability of potentially supplying a firearm to someone under the

 10   age of 21.
 11
            55.    Plaintiff Beebe Arms is licensed firearms retailer in Fallbrook, California.
 12

 13   As a result of California Age-Based Gun Ban, Beebe Arms was forced to deny

 14   otherwise qualified individuals, and specifically Plaintiff Furrh, the ability to purchase
 15
      any type of firearm. Due to the Penal Code section 27510 prohibition on licensed
 16

 17   dealers from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control of
 18   a firearm to any person under 21 years of age,” Beebe Arms has been forced to deny
 19
      numerous otherwise qualified individuals from purchasing, renting, or even handling
 20

 21   firearms of any kind from their store.
 22         56.    Penal Code section 27510’s prohibitions also prevent Plaintiff Beebe
 23
      Arms from offering hunter education classes to adults between the ages 18-20 who
 24

 25   wish to comply with Penal Code section 27510’s exemption, which allows individuals
 26   over 18 to acquire long guns if they possess a valid, unexpired hunting license issued
 27
      by the Department of Fish and Wildlife. The hunter’s education classes require that
 28
                                                    27
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  1
      students handle and demonstrate the safe handling of a firearm. Because Beebe Arms

  2   is prevented from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control
  3
      of a firearm to any person under 21 years of age,” Beebe Arms cannot lawfully provide
  4

  5   the necessary instruction for customers to meet this exception.

  6         57.    Thus, Penal Code Section 27510 has prohibited Beebe Arms from selling
  7
      firearms to otherwise acceptable adults.
  8

  9         58.    Plaintiff Firearms Policy Coalition is a 501(c)(4) nonprofit organization

 10   that advocates individual liberties and constitutional rights – especially those protected
 11
      under the First, Second, Fifth, and Fourteenth Amendments. FPC’s membership
 12

 13   includes California residents who are between 18 and 20 years of age. Penal Code

 14   section 27510’s ban on firearm sales and transfers to adults within the ages of 18-to-20
 15
      infringes on the Second Amendment rights of these Firearms Policy Coalition
 16

 17   members. FPC brings this action on behalf of these members.
 18         59.    Plaintiff FPF is a 501(c)3 nonprofit organization that serves its members,
 19
      supporters, and the public through advocating individual liberties and constitutional
 20

 21   rights – especially those protected under the Second Amendment. FPF’s membership
 22   and supporters includes California residents who are over 18, but under 21 years old.
 23
      Penal Code section 27510’s ban on firearm sales and transfers to adults within the ages
 24

 25   of 18-to-20 infringes on the Second Amendment rights of these FPF members and
 26   supporters. FPF brings this action on behalf of these members.
 27

 28
                                                  28
                                                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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  1
            60.    Plaintiff CGF is a 501(c)(3) non-profit organization that serves its

  2   members, supporters, and the public through education, cultural, and judicial efforts to
  3
      advance Second Amendment and related civil rights.              CGF’s membership and
  4

  5   supporters includes California residents who are over 18, but under 21 years old. Penal

  6   Code section 27510’s ban on firearm sales and transfers to adults within the ages
  7
      of 18-to-20 infringes on the Second Amendment rights of these CGF members.
  8

  9   CGF brings this action on behalf of these members.

 10         61.    Plaintiff SAF has over 600,000 members and supporters nationwide,
 11
      including thousands in the State of California. SAF’s membership includes California
 12

 13   residents who are over 18, but under 21 years old. Penal Code section 27510’s ban on

 14   firearm sales and transfers to adults within the ages of 18-to-20 infringes on the Second
 15
      Amendment rights of these SAF members. SAF brings this action on behalf of these
 16

 17   members.
 18         62.    Plaintiffs Jones, Furrh, PWG, NCSC, Beebe Arms, FPC, FPF, CGF and
 19
      SAF in their representative capacities, include both male and female adults, who, apart
 20

 21   from their age, meet all other state or federal requirements for purchasing or possessing
 22   firearms. Plaintiffs are not law enforcement, federal officers, or in the armed services;
 23
      nor do these Plaintiffs have valid, unexpired hunting licenses. Therefore, they are not
 24

 25   exempt from California’s ban.
 26

 27

 28
                                                 29
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  1
            63.    But for the California Age-Based Gun Ban, these Plaintiffs would sell,

  2   supply, deliver, purchase, and/or transfer handguns, rifles, and/or shotguns for
  3
      self-defense and other lawful purposes.
  4

  5         64.    Penal Code section 27510 constitutes a ban on firearm sales and transfers

  6   to adults within the ages of 18-to-20, and as such, infringes on their Second
  7
      Amendment rights.
  8

  9                    DECLARATORY JUDGMENT ALLEGATIONS
 10
            65.    There is an actual and present controversy between the parties. Plaintiffs
 11

 12   contend that Penal Code section 27510 infringes on Plaintiffs’ Second Amendment
 13
      rights by prohibiting licensed dealers from “sell[ing], supply[ing], deliver[ing], or
 14
      giv[ing] possession or control of a firearm to any person under 21 years of age,” and
 15

 16   thus, prohibiting adults between the ages of 18 and 20 from purchasing any firearms.
 17
      Defendants deny these contentions. Plaintiffs desire a judicial declaration that Penal
 18
      Code section 27510 violates Plaintiffs’ constitutional rights. Plaintiffs should not be
 19

 20   denied their constitutional rights as they are lawful adults.
 21
                           INJUNCTIVE RELIEF ALLEGATIONS
 22

 23         66.    Plaintiffs are presently and continuously injured by Defendants’
 24
      enforcement of Penal Code section 27510 insofar as that provision violates Plaintiffs’
 25

 26   rights under the Second Amendment and Fourteenth Amendment by prohibiting
 27   licensed dealers from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or
 28
                                                  30
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  1
      control of a firearm to any person under 21 years of age,” and thus, prohibiting adults

  2   between the ages of 18 and 20 from purchasing any firearms.
  3
            67.    If not enjoined by this Court, Defendants will continue to enforce Penal
  4

  5   Code section 27510 in derogation of Plaintiffs’ constitutional rights. Plaintiffs have no

  6   plain, speedy, and adequate remedy at law.             Damages are indeterminate or
  7
      unascertainable and, in any event, would not fully redress any harm suffered by
  8

  9   Plaintiffs because they are unable to engage in constitutionally protected activity due

 10   to California’s ongoing enforcement of Penal Code section 27510.
 11

 12
                                   FIRST CAUSE OF ACTION

 13
                           (Violation of U.S. Const. amends. II and XIV)
 14
            68.    Plaintiffs incorporate by reference the allegations of the preceding
 15

 16   paragraphs 1 through 67.
 17
            69.    The Second Amendment’s guarantee of “the right of the people to keep
 18
      and bear Arms” secures to law-abiding, adult citizens the fundamental constitutional
 19

 20   right to purchase and acquire firearms for self-defense and other lawful purposes.
 21
      U.S. Const. amend. II.
 22
            70.    This Second Amendment right applies against the State of California
 23

 24   through the Fourteenth Amendment to the U.S. Constitution.
 25
            71.    Penal Code section 27510 prohibits lawful, responsible, adult citizens
 26

 27
      between the ages of 18 and 21 from purchasing firearms of any type from any source

 28
                                                 31
                                                      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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  1
      as it prevents federal firearms licensees from selling, supplying, delivering, or giving

  2   possession or control of any firearm to any person under 21 years of age.
  3
            72.    Penal Code section 27510(b)(1) and (b)(2)(A)-(E) provides a few
  4

  5   exemptions to this blanket prohibition. The exemptions cover only a relatively small

  6   number of law enforcement, military, and those with current unexpired hunting
  7
      licenses. Penal Code § 27510(b)(2)(A)-(E). These exemptions do not apply to the vast
  8

  9   majority of adult citizens between the ages 18 and 21.

 10         73.    Penal Code section 27510 requires that all firearm transfers be conducted
 11
      through federally licensed dealers. Thus, section 27510 also prevents private party
 12

 13   transactions from being completed between adult citizens.

 14         74.    The California Age-Based Gun Ban and Defendant’s policies, practices,
 15
      and customs of enforcing said law constitute a ban that infringes on, and imposes an
 16

 17   unconstitutional burden upon, the Second Amendment rights of Plaintiffs Jones, Furrh,
 18   PWG, NCSC, Beebe Arms, FPC, FPF, CGF, and SAF as alleged above. Thus, the ban
 19
      is unconstitutional, invalid, and unenforceable.
 20

 21                                  PRAYER FOR RELIEF
 22         WHEREFORE, Plaintiffs pray that the Court:
 23
            1.     Declare Penal Code section 27510 unconstitutional on its face and as
 24

 25   applied to Plaintiffs and other similarly situated adults over the age of 18 under the
 26   Second and Fourteenth Amendments to the United States Constitution, and, therefore,
 27
      devoid of any legal force or effect.
 28
                                                  32
                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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  1
             2.      Temporarily and permanently enjoin Defendants Attorney General Xavier

  2   Becerra and the other named Defendants, and their officers, agents, employees, and
  3
      attorneys, and those persons in active concert or participation with them, and those duly
  4

  5   sworn state peace officers and federal law enforcement officers who gain knowledge

  6   of the permanent injunction, or know of its existence, from enforcing Penal Code
  7
      section 27510 against Plaintiffs and others similarly situated in its entirety.
  8

  9          3.      Award remedies available under 42 U.S.C. § 1983 and all reasonable

 10   attorneys’ fees, costs, and expenses under 42 U.S.C. § 1988, or any other applicable
 11
      law.
 12

 13          4.      Grant such other and further relief as the Court may deem proper.

 14
      July 1, 2019                            John W. Dillon
 15                                           Gatzke Dillon & Ballance LLP
 16
                                              Attorney for Plaintiffs
 17

 18
                                                By:_/s/_John W. Dillon__________

 19                                                    John W. Dillon
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                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
